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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                            Southern District
                                              __________      of New
                                                           District ofYork
                                                                      __________


                              USA                              )
                             Plaintiff                         )
                                v.                             )      Case No. 1:23-cr-00490
                       Menendez, et al.                        )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        Nadine Menendez                                                                                                .


Date:          01/30/2024                                                             /s/ Mark J. MacDougall
                                                                                          Attorney’s signature


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